
Reese, J.
delivered tire opinion of the court.
The only question in this case is, whether a judgment rendered by a justice, and placed on his docket book, is so defective in substance as to be void. The columns of his docket book are ruled off pretty much according to the form given in the statute. He gives the date of the return in one column, the statement of the cause by the names of the parties in another, the amount of the judgment in cubic figures (that, too, according to the statutory form) in a third, in a fourth the word confessed, &amp;c. But a caption to the columns of his docket seems to be wanting. That docket contained many cases. Shall all these cases go for nothing? The caption may have been lost; but if not, the coincidence of the columnar arrangement with the statutory form, makes these very columns, the very ruling off according to law, legally significant, and supplies much that, under a different system, might require expression in words. Besides, this judgment is attacked, not by any party to it, but by a third person. Our courts have always anxiously sought to support the proceedings of justices, a class of officers, who from patriotism and public spirit merely taire upon themselves functions to the performance of which, in many instances, they bring good purposes and right intentions, rather than skill and knowledge.. On grounds of public policy, of necessity almost, their proceedings must be upheld whenever possible. We affirm the judgment.
